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                                                   HEARTING DATE: MARCH 18, 2021
                                                   HEARING TIME: 10:00 A.M.

WILK AUSLANDER LLP
825 Broadway, 29th Floor
New York, New York 10019
Telephone: (212) 981-2300
Jay S. Auslander
Eric J. Snyder
Natalie Shkolnik
Julie Cilia

Counsel for Seadrill Limited and Fintech Advisory Inc.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                              Chapter 15

PERFORADORA ORO NEGRO, S. DE R.L.                   Case No. 18-11094 (SCC)
DE C.V., et al.                                     (Jointly Administered)

Debtors in a Foreign Proceeding.



GONZALO GIL-WHITE, PERSONALLY                       Adv. Pro. No. 19-01294
AND IN HIS CAPACITY AS FOREIGN
REPRESENTATIVE OF PERFORADORA
ORO NEGRO, S. DE R.L. DE C.V. AND
INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE
C.V.

                      Plaintiff,

              -against-

ALP ERCIL; ALTERNA CAPITAL
PARTNERS, LLC;
AMA CAPITAL PARTNERS, LLC;
ANDRES CONSTANTIN ANTONIUS-
GONZÁLEZ; ASIA RESEARCH AND
CAPITAL MANAGEMENT LTD.; CQS



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(UK) LLP; FINTECH ADVISORY, INC.;
DEUTSCHE BANK MÉXICO, S.A.,
INSTITUCIÓN DE BANCA MÚLTIPLE;
GARCÍA GONZÁLEZ Y BARRADAS
ABOGADOS, S.C.; GHL INVESTMENTS
(EUROPE) LTD.; JOHN FREDRIKSEN;
KRISTAN BODDEN; MARITIME
FINANCE COMPANY LTD.; NOEL
BLAIR HUNTER COCHRANE, JR; ORO
NEGRO PRIMUS PTE., LTD.; ORO
NEGRO LAURUS PTE., LTD.; ORO
NEGRO FORTIUS PTE., LTD.; ORO
NEGRO DECUS PTE., LTD.; ORO NEGRO
IMPETUS PTE., LTD.; PAUL MATISON
LEAND, JR.; ROGER ALAN BARTLETT;
ROGER ARNOLD HANCOCK; SEADRILL
LIMITED; SHIP FINANCE
INTERNATIONAL LTD.; and DOES 1-100

                           Defendants.


   STATEMENT OF SEADRILL LIMITED AND FINTECH ADVISORY INC. IN
SUPPORT OF EXTENDING LITIGATION STAY FOR ADVERSARY PROCEEDING

          Seadrill Limited 1 and Fintech Advisory Inc. support the extension requested by the

Foreign Representative for the reasons set forth in the statements filed by both the Foreign

Representative [ECF #299] and AMA Capital Partners, LLC (“AMA”), Alterna Capital Partners,

LLC, Maritime Finance Company, Ltd., Kristan Bodden, and Paul Matison Leand, Jr. [ECF #

300]. 2




1
  Seadrill Limited is a debtor in a proceeding under chapter 11 of the Bankruptcy Code in Case No. 21-30427
(DRJ)(Bankr. S.D. Tex.). Seadrill Limited’s filing of this Stipulation shall not be deemed to be a waiver of any right
that might be asserted by Seadrill Limited in its capacity as a debtor or debtor in possession.

2
 Consistent with prior stipulations and orders entered by this Court to stay all deadlines in the Chapter 15
Proceedings [ECF Nos. 280, 283, 288, 290, 295], this Stipulation does not waive any of the undersigned defendants’
available defenses and objections to the Adversary Proceedings.


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Dated:       New York, New York
             March 11, 2021

                                           WILK AUSLANDER LLP

                                           By:    /s/ Eric J. Snyder
                                                  Jay S. Auslander
                                                  Eric J. Snyder
                                                  Natalie Shkolnik
                                                  Julie Cilia
                                           825 Broadway, 29th Floor
                                           New York, New York 10019
                                           (212) 981-2300

                                           Counsel for Seadrill Limited and Fintech
                                           Advisory Inc.




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